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       AFFIDAYIT IN ST]PPORT OF APPLICATION FOR SEARCH WARRANT

       I, Kevin O'Dowd, being first duly swom, hereby depose and state as follows:

                               Introduction and Agent Background

        1.   I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a search warant authorizing the examination of a cellular phone-

described below and with particularity in Attachment     A-that   is currently in the possession   of

the United States Border Patrol (USBP) and the seizure from that device of the electronically

stored information described in Attachment     B.   The applied-for warant would authorize the

forensic examination of the Subject Electronics for evidence of alien smuggling in violation of 8

U.S.C. $$ 1324 and 1325 (including conspiracy to commit oflenses under that section).

       2.    I am   a Border Patrol Agent   (BPA) of the USBP, a component of Customs and

Border Protection (CBP) withinthe Department of Homeland Security (DHS). I have been so

employed since July 17,2006. I am currently assigned to the Richford, Vermont station as a

Border Patrol Agent (Intelligence) @PAO). I have been assigned to the Richford Station as a

BPA(I) for approximately 11 months. I was previously assigned to the Sierra Blanc4 Texas

Border Patrol Station as a BPA for approximately 6 years, and to the Special Operations Group

Headquarters in El Paso, Texas as a Border Patrol Search Trauma and Rescue Operator         for

approximately 8 years.

       3.    As part of my present duties, I investigate criminal violations of the Immigration and

Nationality Act as codified in Title 8 of the United States Code, as well as violations of other

federal criminal codes. I am a "federal law enforcement officer" within the meaning of Federal

Rule of Criminal Procedure al(a)(2)(C). I received formal training to identify and investigate

alien- and drug-smuggling activities both at the USBP Academy and through regular and
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recuming on-the-job training and annual Performance and Learning Management System course

certification. In my experience, and the experience of agents with whom I have consulted,

electronic devices are commonly used in several cases to facilitate smuggling events by

coordinating transportation and drop-off/ pick-up locations via global positioning system

applications and verbal andlor non-verbal communications relayed over Wi-Fi and/or a

telecommunications network.

        4.   The inforrnation in this affidavit comes from my personal observations and

investigation, my training and experience, reports made available to me by other law

enforcement authorities, analysis of documents and DHS records, and my discussions with other

law enforcement officers who have direct knowledge of the events described below. As a result

of my participation and review ofpast and present reports made by agents ofthe USBP, I am

fully familiar with the facts and circumstances of this investigation. This affidavit is intended to

show only that there is probable cause for the requested wa:rant and does not set forth all of my

knowledge about this matter. Unless otherwise noted, descriptions in this affidavit of statements

made by witnesses or during interviews are related here in paxt, sum, and substance and are not

direct or full quotations.

        5.   The property to be searched is a Samsung 58 smartphone owned by and seized from

Roberto CHUMIL-Hernandez on or about September 25,2021, that is currently in storage at the

USBP Sector Intelligence Unit in Swanton, Vemront (CHUMIL's PHONE). Through my

training and experience, I know that CHUMIL's PHONE has been stored in a manner in which

its contents are, to the extent material to this investigation, in substantially the same state as they

were when CHUMIL's PHONE first came into the possession of the United States Border Patrol.

Based on the facts set forth in this affidavit, there is probable cause to believe that violations   of


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Title 8, United States Code, Section 1324have been committed by Roberto CHUMIL-Hernandez

and others and that evidence of those violations would likely be found on   CHUMIL's PHONE.

                                         Probable Cause

       6.   On Saturday September 25,2021, at approximately 7:00 pm Eastern, Border Patrol

Agents at the Richford, Vermont Border Patrol Station were notified by Swanton Sector

Communications (KAK640) that several people were captured in an image take by a remotely

operated camera placed in a wooded area directly adjacent to the international border between

Canada and the United States in the Richford Area of Responsibility   (AOR). The camera is

activated by motion within its field of view; it automatically records images when motion is

detected and hansmits them to USBP computer systems where they can be viewed by USBP

personnel. USBP agents place cameras such as this one in areas known to have been used by

smugglers or undocumented aliens attempting to cross the border without inspection by

immigration officers.

       7.   The camerathatactivated on September25,202l,was located approximately 0.4

miles east of the West Berkshire, Vermont Port of Entry GOE). The West Berkshire POE is at

the northern terminus of Vermont Route 108, in a sparsely populated rural area in western

Vermont within the Richford AOR. Richford USBP agents were aware that the area has been

frequently used by alien smugglers periodically in the preceding year and that several of those

events had taken place dwing the evening hours on Saturdays. Agents were also aware that

drivers participating in those smuggling events would often pick up or attempt to pick up the

aliens who had entered the United States illegally along the side of Route 108.

       8.   After being notified of the camera activation, BPA Bruce Vogt positioned himself on

the west side of Route 108-approximately 0.5 miles south of the international border and
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approximately 0.75 miles north of Route 120-Jo observe any vehicles that might attempt to pick

up the suspected aliens depicted in the remote camera images. That portion of Route 108 serves

only a few farms and the West Berkshire POE, which was closed at this time of night;

accordingly, vehicle traffic in the area is normally sparse during evening hours and generally

consists only of loca1traffic.   At approximately 10:30 pm, BPA Vogt observed a sport utility

vehicle (SUV) travel north past his location. Approximately 3 minutes later, the same SUV

passed BPA Vogt again, now traveling south. BPA Vogt observed that the SUV was traveling at

low speeds, and it began flashing its turn signals on and offin     a   location where there were no

roads for it to tum onto. BPA Vogt knew from his experience in the USBP that transporters

working with alien smugglers will often flash their vehicle's lights to signal the aliens to come

out of hiding to be picked up and transported further into the counfiy.

       9.    BPA Vogt observed the SUV come to a complete stop, and several people emerged

from a ditch along the road and entered the vehicle. The SUV then resumed traveling south on

Route 108. BPA Vogt notified other agents in the area via radio that the        SW   had likely picked

up aliens and that it was traveling south toward the intersection of Route 108 and Route 120.

       10. Supervisory Border Patrol Agent (SBPA) Troy Edwards was positioned nearby, and

he began   following the vehicle in his marked USBP truck. SBPA Edwards requested records

checks on the vehicle's license plate through dispatch, and he received a response indicating the

vehicle was registered to EAN Holdings Inc., a car-rental business. SBPA Edwards knew from

his experience that alien smugglers   will often   use rental vehicles to transport aliens from the

border area to their next destination within the United States. SBPA Edwards activated his

emergency lights to initiate a vehicle stop and conduct an immigration inspection of the SIfV's

occupants. The SUV pulled over near the intersection of Route 108 and Route 120. BPA Vogt
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arived on scene to assist SBPA Edwards         as the   SIfV came to   a stop.

        11. BPA Vogt        approached the passenger-side front window while SBPA Edwards

approached the driver's      window. Agents observed the SUV,      a silver Toyota   RAV4, was

occupied by six people: one in the driver's soat, one in the front passenger seat, and four in the

rear seat. SBPA Edwards instructed the driver exit the vehicle and stand near the rear of the

vehicle, and BPA Vogt instructed the front seat passenger to exit the vehicle and sit down near

the rear ofthe vehicle.

       12. BPA Vogt identified himself        as a U.S. Border Patrol Agent and asked the   front seat

passenger   if   he spoke English. The passenger responded,     "No." BPA Vogt then switched to the

Spanish language, in which the passenger was able to communicate. BPA Vogt asked the

passenger to state his citizenship, and he responded'oGuatemala." BPA Vogt asked the

passenger   if   he had just entered the U.S., and he   responded'No." BPA Vogt asked the

passenger when he last entered the U.S., and he responded, u2011.." BPA Vogt asked the

passenger   if   had any documents to be in the U.S. legally, and he responded   oNo." BPA Vogt

asked the passenger where he lived, and he responded "Washinglon" and produced a Washington

D.C. driver's license identifying him as Roberto CHUMIL-Hernandez. BPA Vogt then a:rested

CHUMIL for being present in the U.S. without admission by an immigration officer and placed

him in a USBP vehicle for transport to the Richford Border Patrol Station.

       13. SBPA Edwards          spoke with the driver, who produced a Washinglon D.C. driver's

license identiffing him as Francisco Antonio I{ERNANDEZ-Mohma. I{ERNANDEZ stated he

was a citizen of El Salvador, and he was unable to produce any valid immigration documents

allowing him to enter, remain in, or travel through the U.S. legally. SBPA Edwards then a:rested

HERNANDEZ for being present in the U.S. without admission by an immigration officer and
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placed him in a separate USBP vehicle for transport to the Richford Border Patrol Station.

        14. Agents questioned the rear seat occupants    as   to their citize^hip, and ali four stated

they were citizens of Guatemala. The subjects presented Guatemalan national identification

documents identi$ing them as Matias Briseyda CASTILLO-Ramirez, Cindy PEREZ-Pinzon,

Leonel PINZON-Revolorio, and Abelado Eulalio ROBLERO-Galvez. Each of the rear seat

passengers freely admitted to being in the United States illegally, having just entered without

inspection. CASTILLO, PEREZ, PINZON, and ROBLERO were placed under arrest for being

present in the U.S. without admission. They were then transported to the Richford Border Patrol

Station for further investigation and removal procedures.

       15. At the Richford Border Patrol Station,     agents conducted records checks on each      of
the subjects using their fingerprints and the IDENT/IAFIS systems and by querying the names

found on their identity documents. None of the subjects had any records in CBP data systems

showing valid U.S. immigration status or any applications/petitions for legalU.S. immigration

status. In accordance with current DHS policies promulgated under 42 U.S.C. 265 nresponse to

the ongoing COVID-l9 pandemic, CASTILLO,PEREZ, PINZON, and ROBLERO were

expelled to Canada at approximately 1:00 am on September26,202l, rather than being

presented for criminal prosecution or   civil immigration proceedings.

       16. At approximately    1:35 am on September     26,2021,I attempted to interview

CHIIMIL. I advised him of his rights using CBP Form I-214, as witnessed by BPA Shelby

Theriot. CHUMIL refused to sign the form, which would indicate he understood his rights, and

he refused to answer questions without a lawyer present.      I asked CHLIMIL for his consent to

review the contents of his phone, and CHTIMIL also refused to grant his consent without a

lawyer present. We then ceased all questioning of CHUMIL.



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        17. At approximately l:46 am on September 26,2021,I advised IIERNANDEZ of his

rights using CBP Form I-214, as witnessed by BPA Theriot. HERNANDEZ signed the form,

acknowledging his understanding of his rights and indicating his willingness to waive those

rights and answer questions without a lawyer present. I then interviewed HERNANDEZ aboat

his immigration status in the U.S. and his involvement in the events of the previous evening. In

sum and substance, HERNANDEZ statedthe following:

                 a.   IIERNANDEZils acitrzen of El Salvador. He does not       possess any U.S.

        immigration documents, nor has he ever applied for any such documents.

                 b.   HERNANDEZIasI entered the U.S. on or about March 20,2004,near

       Piedras   Negras-which I know to be near Eagle Pass, Texas.

                 c.   I{ERNANDEZ resides in S/ashington D.C., where is employed in

       construction and with a ooTaxi Latino" service.

                 d.   HERNANDEZ described CHUMIL as a friend-of-a-friend whom he does not

       know very      well. HERNANDEZwas        oflered $200 by a person known to him as
       ooWilliam",
                      aprevious customer of the Tari Latino service, to accompany CHUMIL on

       this trip to Vermont. I{ERNANDEZ clumednot to knowthe purpose of the trip, and he

       denied knowing they would be tansporting illegal aliens. HERNANDEZwas driving

       when their vehicle was stopped, but both HERNANDEZ and CHUMIL drove during the

       trip. CHTIMIL was navigating the vehicle to a point on a map, IIERNANDEZ didnot

       know the ultimate destination.

                               Information About Cellular Devices

        18.   Based on my training and experience in this and other cross-border criminal

investigations, individuals crossing the border illegally   will often communicate   and coordinate
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with someone to pick them up once in the United States or to inform them that they successfully

crossed the border without apprehension. Many alien-smuggling cases involve an individual

acting as a foot guide for a group of aliens, and that foot guide typically communicates with the

arranged transporter(s) using cellular devices to call, text, and share location data. Electronic

devices typically retain data of sent and received communications, including content of the

messages and the numbers of phones     with which the devices communicated. Those data would

assist investigators in determining the parties involved in a smuggling event and when and how

the event was planned. Aliens and foot guides crossing the border il1egally often use a cellular

telephone's GPS or other mapping functions to search for potential crossing locations and to

navigate during crossing events. The devices' applications frequently store location data for long

periods, often in manners not readily apparent to the users of the devices. I am also familiar with

individuals crossing illegally into the United States using the camera feature of cellular devices

to take photos or videos of the location where they crossed or where they are waiting to be

picked up; those photos or videos may be informative to investigators on their face, or they may

contain location metadata to assist agents in identifying locations used in smuggling events.

        19. Individuals involved in alien-smuggling      events often include transporters within the

United States and within Canada and coordinators in both countries as we1l. These participants

frequently communicate by cellular telephones with each other and with the aliens illegally

entering the United States. The participants also often use a cellular telephone's GPS and

mapping functions to select and send crossing locations, select and transmit potential pick-up

locations, and select and navigate to routes oftravel.

       20. Based on my training,    experience, and research, I know that CHTIMIL's PHONE has

the following capabilities, among others: wireless cellular connectivity to the Internet andlor
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mobile communications network; connectivity with Wi-Fi signals; sending and receiving audio

and visual information; digital compass and GPS navigation,location taggrng, and tracking; a

video czlmera for still photographs and video recording; a microphone and speaker for audio

recording and playback; and a memory unit with a minimum storage capacity of multiple

gigabytes. The memory unit on each phone can be used to store user information, voicemails,

audio and visual recordings, browsing history, documents, images, and videos. Based on my

training and experience, I know that examining data stored on devices of these types can

uncover, among other things, evidence that reveals or suggests who possessed or used the device.

                                     Conclusion and Requests

       21. I submit that this affidavit   supports probable cause for a search warrant authorizing

the examination of CHUMIL's PHONE, described in Auachment A, to seek the items described

in Auachment   B.   Specifically, I believe probable cause exists that violations of 8 U.S.C. $$

1324 and 1325 have occurred and that CHUMIL-Hemandez and HERNANDEZ-Molina were

involved in those offenses. Further, I submit that probable cause exists to believe the contents of

CHUMIL's PHONE will contain evidence of those offenses.

       22. CIilJl[/IJL's PHONE     is currently in the lawful possession of the United States Border

Patrol and has been since September 25,2021. I seek this warrant to ensure further examination

of CHUMIL's PHONE will comply with the Fourth Amendment and other applicable laws.

Consistent with Rule al(e)(2)(B), the requested warrant would permit the examination       of
CHUMIL's PHONE in a manner that may require authorities to employ techniques including,

but not limited to, computer-assisted scans of the entire medium that might expose many parts      of
the device to human inspection in order to determine whether it is evidence described by the

warrant.



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       23.   Because this warrant seeks only permission to examine Subject Electronics already

in law enforcement's possession, the execution of this warrant does not involve the physical

intrusion onto premises. Consequently, I submit there is reasonable cause for the Court to

authorize execution of the warant at any time in the day or night.
                                                                 L[
       Dated at Burlington, in the District of Vermont,   this        day of Octo ber,202l.




                                                 Kevin O'Dowd, Border Patrol Agent (Intel)
                                                 United States Border Patrol


                                                ,,6day of October,202L.
       Sworn to and subscribed before me this   T.


                                                 Hon. Kevin J. Doyle,
                                                 United States District Court
                                                 District of Vermont




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